            IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
                      1:20-cv-00307-WCM

LIBERTY MUTUAL INSURANCE             )
COMPANY, as Administrator            )
and Assignee of Developers Surety    )
and Indemnity Company,               )                       ORDER
                                     )
                      Plaintiff,     )
                                     )
           v.                        )
                                     )
FIDELIS VETERAN                      )
CONSTRUCTION, INC.,                  )
                                     )
                      Defendant.     )
_____________________________________)

      This matter is before the court on Plaintiff’s Motion for Default

Judgment Against Defendant Fidelis Veteran Construction, Inc. (the “Motion

for Default Judgment,” Doc. 28).

      The Clerk is respectfully DIRECTED to set a hearing on the Motion for

Default Judgment.

      Additionally, in the court’s discretion, Plaintiff is DIRECTED to provide

copies of Plaintiff’s Motion for Default Judgment, this Order, and any notice of

the hearing to Fidelis Veteran Construction, Inc. and to ensure that the former

defendants, with whom Plaintiff has resolved its claims, also receive notice of

the hearing.




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It is so ordered.

                               Signed: November 24, 2021




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